   1   STANLEY J. KARTCHNER
       Chapter 7 Trustee
   2   7090 N. Oracle Rd. #178-204
       Tucson, AZ 85704
   3   Telephone: (520) 742-1210

   4

   5

   6
                            IN THE UNITED STATES BANKRUPTCY COURT
   7
                                     FOR THE DISTRICT OF ARIZONA
   8
       In re                                            )
   9                                                    )   Chapter 7 Proceedings
                                                        )
       DESERT VALLEY STEAM CARPET
  10                                                    )
       CLEANING LLC,                                    )
                                                            CASE NO. 4:17-bk-13309-SHG
  11                                                    )
               Debtor(s)                                )   MOTION TO DISMISS CASE
  12                                                    )

  13           Stanley J. Kartchner, the duly appointed and acting trustee in this case, hereby moves to
  14
       dismiss this case for failure of the debtor to appear through counsel, and in support hereof
  15
       represents and alleges as follows:
  16
               1.     This case was commenced with the filing of Debtor’s Chapter 7 voluntary
  17
       petition on November 8, 2017. Debtor is not represented by an attorney.
  18

  19
               2.     Corporations and other unincorporated associations must appear in court

  20   through an attorney. See, e.g., Rowland v. California Men's Colony, 506 U.S. 194 (1993); In re

  21   America West Airlines, 40 F.3d 1058, 1059 (9th Cir. 1994).
  22
               Wherefore, because Debtor is not represented by an attorney as required, Trustee
  23
       respectfully urges the Court to dismiss this case.
  24
               Dated: November 9, 2017.
  25
                                                                    /s/ SJK
  26

                                                     Stanley J. Kartchner, Trustee


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   1   Copy of the foregoing served by First
       Class Mail November 9, 2017 upon:
   2
       DESERT VALLEY STEAM CARPET CLEANING LLC
   3
       108 E 8th ST
   4
       ELOY, AZ 85131

   5   Office of the United States Trustee
       230 N First Ave, Suite 204
   6   Phoenix, AZ 85003-1706
   7                 /s/ SJK
       __________________________________
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